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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

JOHN PINNICCHIA,                              :       Case No. 17-cv-2139(VAB)
    Plaintiff,                                :
                                              :
v.                                            :
                                              :
U.S. DEPT. OF VETERANS AFFAIRS,               :
      Defendants.                             :       July 13, 2018

                             MOTION TO SEAL EXHIBIT

         Pursuant to Local Rule of Civil Procedure 5(e), the defendant, the United States

Department of Veterans Affairs, respectfully moves the court to seal Exhibit F to the

Declaration of Quinn D. Martin, which supports the Local Rule 56(a)(1) Statement of

Undisputed Material Facts filed in connection with the defendant’s motion for summary

judgment.       The complaint in this case challenges certain redactions made by the

defendant to a document released to the plaintiff pursuant to the Freedom of Information

Act. Pursuant to 5 U.S.C. § 552(a)(4)(B), the court “may examine the contents of such

agency records in camera to determine whether such records or any part thereof shall be

withheld under any of the exemptions” under FOIA. In connection with its motion for

summary judgment, the defendant has agreed to a request by the plaintiff to submit an

unredacted copy of the requested record for in camera review (subject to the court’s

decision to exercise its discretion to review the document in camera). That document has

been provided as an exhibit to the defendant’s declaration in support of its motion for

summary judgment, and the defendant by this motion seeks to seal it.
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       WHEREFORE, the defendant respectfully moves the court to seal Exhibit F to the

Declaration of Quinn D. Martin.



                                          Respectfully submitted,

                                          John H. Durham
                                          United States Attorney

                                          __/s/_________________________
                                          John W. Larson (ct28797)
                                          Assistant United States Attorney
                                          District of Connecticut
                                          450 Main Street, Room 328
                                          Hartford, CT 06103
                                          T: (860) 947-1101
                                          F: (860) 760-7979
                                          john.larson@usdoj.gov




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